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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 VS                                                §           CASE NO: 1:15-CR-128-1
                                                   §
 GROVER LEE ROBERTS, JR                            §
                                                   §


            REPORT AND RECOMMENDATION REGARDING FORFEITURE

        On November 24, 2015, the Government filed a Motion and Brief for Issuance of a

 Preliminary Order of Forfeiture (Doc. No. 55) regarding personal property, real properties, and cash

 proceeds. Chief Judge Ron Clark granted this motion. (Doc. No. 56.) Now, before the undersigned

 are two Motions for Remission of Forfeited Property filed by claimant Brunetta F. Roberts

 (“Roberts”) regarding one piece of real property. (Doc. Nos. 75, 101.) These motions were referred

 to the undersigned for consideration and a recommended disposition by Chief Judge Clark. (Doc.

 Nos. 90, 102.)

        Roberts is claiming an interest in the real property located at 1412 South Hart Avenue,

 Orange, Texas 77630 described as: Lot Twelve (12) in Block Two (2) of the S.T. Edwards Addition

 to the City of Orange, Orange County, Texas, according to the Map or Plat of said Addition as

 recorded in Vol. 1, Page 86, of the Map Records of Orange County, Texas. (Doc. Nos. 75, 101, 56.)

 The undersigned conducted a hearing on February 29, 2016, regarding Roberts’s third party claim

 to an interest in this property. (Doc. No. 120.) Because the undersigned finds that Roberts has a

 legal one-half interest in the property that vested prior to the commission of the acts giving rise to

 the forfeiture, the undersigned recommends amending the forfeiture order to order the Government
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 to sell the property in a commercially feasible manner and divide the net proceeds equally with

 Roberts after satisfaction of all taxes owed and the costs of possession, maintenance repairs,

 marketing, and sale of the property.

                               I. CRIMINAL FORFEITURE LAW

        Under 21 U.S.C. § 881(a)(7), “ real property, including any right, title, and interest (including

 any leasehold interest) in the whole of any lot or tract of land and any appurtenances or

 improvements, which is used, or intended to be used, in any manner or part, to commit, or to

 facilitate the commission of, a violation of this subchapter punishable by more than one year’s

 imprisonment” shall be subject to forfeiture to the United States and no property right shall exist

 in them. Also, 21 U.S.C. § 853(a) states that “any person convicted of a violation of this subchapter

 or subchapter II of this chapter punishable by imprisonment for more than one year shall forfeit to

 the United States, irrespective of any provision of State law . . . (2) any of the person’s property

 used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of,

 such violation.” Further, in imposing a defendant’s sentence, the court shall order, in addition to

 any other sentence imposed, that the defendant forfeit to the United States all property described in

 subsection (a). 21 U.S.C.A. § 853(a).

        In compliance with these statutes, the Government attached a notice to seek criminal

 forfeiture of the real property at issue in this report to the Defendant’s Indictment. (Doc No. 2, p.

 3-5.) On November 24, 2015, the Defendant pled guilty to the Indictment in court before the

 undersigned judge, and as part of his plea agreement, he agreed to forfeit his interest in the subject

 property pursuant to section 853. (Doc. No. 57.) In addition, on that same date, Chief Judge Clark

 signed an Order granting the Government’s Motion for Preliminary Forfeiture of Property, including


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 the property at issue. (Doc. No. 56.)

          Following an order of forfeiture, any third person asserting a legal interest in the property

 may petition the court to adjudicate the validity of her alleged interest in the property. 21 U.S.C.A.

 § 853(n). The third party petitioner must establish by a preponderance of the evidence that: “(A) the

 petitioner has a legal right, title, or interest in the property, and such right, title, or interest renders

 the order of forfeiture invalid in whole or in part because the right, title, or interest was vested in the

 petitioner rather than the defendant or was superior to any right, title, or interest of the defendant at

 the time of the commission of the acts which gave rise to the forfeiture of the property under this

 section; or (B) the petitioner is a bona fide purchaser for value of the right, title, or interest in the

 property and was at the time of purchase reasonably without cause to believe that the property was

 subject to forfeiture under this section.” Id. The court must hold a hearing and allow the third party

 petitioner and the Government to present evidence and witnesses. Id. The court shall also consider

 the relevant portions of the record of the criminal case which resulted in the order of forfeiture. Id.

 If the third party petitioner is successful in meeting her burden, the court shall amend the order of

 forfeiture in accordance with its determination. Id. If the burden of proof is not met, the United

 States shall have clear title to property that is the subject of the order of forfeiture and may warrant

 good title to any subsequent purchaser or transferee. Id. Furthermore, following the seizure and

 forfeiture of the property, the Attorney General shall direct the disposition of the property by sale,

 “making due provision for the rights of any innocent persons.” 21 U.S.C. § 853 (h). This subsection

 and subsection (n) regarding third party interests are the only protection for innocent owners in the

 criminal forfeiture statute. See United States v. Fleet, 498 F.3d 1225, 1230–31 (11th Cir. 2007).




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         Roberts argues that she is entitled to the “innocent owner defense” pursuant to 18 U.S.C. §

 983(d). However, that section is only for civil forfeitures. See 18 U.S.C. § 983 (i) (“In this section,

 the term ‘civil forfeiture statute’ means any provision of Federal law providing for the forfeiture of

 property other than as a sentence imposed upon conviction of a criminal offense”). The criminal

 forfeiture statute, 21 U.S.C. § 853, is an in personam proceeding that authorizes the government to

 seek forfeiture of a defendant’s interest in subject property as a punishment for committing criminal

 acts. Fleet, 498 F.3d at 1230–31; United States v. Kennedy, 201 F.3d 1324, 1329 (11th Cir. 2000)

 (citing United States v. Lester, 85 F.3d 1409, 1413 (9th Cir. 1996)). This is in contrast to the civil

 forfeiture scheme, which involves an in rem proceeding, in which the whole property (as opposed

 to a particular defendant’s interest in the property) is treated as being itself guilty of wrongdoing.

 Id. (citing United States v. One, 1976 Mercedes Benz 280S, 618 F.2d 453, 454 (7th Cir. 1980)). In

 a criminal forfeiture, only the property belonging to the criminal defendant is subject to forfeiture.

 Fleet, 498 F.3d at 1232.

         In Fleet, the Eleventh Circuit held that 21 U.S.C. § 853 requires a partial forfeiture when the

 defendant owns real property with innocent parties. Id. at 1230–31 (holding that the United States

 can forfeit a defendant’s interest in residence he owns with his wife). The court noted that the

 criminal forfeiture statute does not contain an innocent owner exception like the civil forfeiture

 statute, which can prevent the Government from forfeiting any part of the property. Id. So, the fact

 that an innocent spouse, even though she retains her property interest and may be adversely affected

 by the forfeiture of her guilty spouse’s interest, it is no bar to forfeiture of the Defendant’s interest.

 Id.; see also United States v. Morales, No. 6:12CR121, 2014 WL 3974557, at *1-3 (M.D. Fla. Aug.

 14, 2014) (finding that the wife’s one-half interest in the property posed no barrier to the forfeiture


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 of the Defendant’s interest in the Property, and the government shall sell the Property in a

 commercially feasible manner and divide the net proceeds equally with the Defendant’s wife after

 satisfaction of all taxes owed and the costs of possession, maintenance, repair, marketing, and sale

 of the property). However, the Government must share the net proceeds from the sale of the property

 with an innocent owner according to their percentage owned. Id.; United States v. Dorman, 38 F.

 Supp. 3d 1328, 1330 (M.D. Fla. 2014), aff’d, 603 F. App’x 844 (11th Cir. 2015) (proceeds to be

 divided equally between the government and the Defendant’s wife after selling the property); see

 also United States v. Lot 6 Block 4 Lakewood Oak Estates, 260 F. App’x 699, 700 (5th Cir. 2007)

 (approving of district court’s ruling that partial payment for property with legitimate funds entitled

 spouse to community property interest equal to one-half of the legitimate payment).

        Consequently, the undersigned must decide whether Roberts has established that: (a) she has

 an interest in the property vested in her rather than the Defendant at the time he committed the acts

 giving rise to the forfeiture; or (b) that she is a bona fide purchaser for value of the Defendant’s

 interest in the property and was at the time of purchase reasonably without cause to believe that the

 property was subject to forfeiture. 21 U.S.C. § 853 (n).

                                          II. DISCUSSION

        A.      Procedural History

         On October 7, 2015, the Defendant, Grover Lee Roberts Jr., was indicted for violation of 21

 U.S.C. § 846, conspiracy with intent to distribute a controlled substance. (Doc. No. 2.) A notice of

 intention to seek criminal forfeiture pursuant to 21 U.S.C. §§ 853, 881 was included in the

 Indictment and referenced the property at issue. (Id.) On October 13, 2015, the Government filed

 a Notice of Lis Pendens with the Orange County Clerk giving notice to the public that the property


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 is subject to forfeiture pursuant to the indictment against the Defendant. (Govt. Ex. 1.) On October

 15, 2015, the Defendant signed a Quitclaim Deed giving the subject property wholly to Roberts, but

 no value was exchanged between the two of them. (Roberts Ex. 1.) The Quitclaim Deed stated that

 the Defendant was giving his 50% ownership to Roberts so that she would now own 100 % of the

 property. (Id.)

           On November 24, 2015, the Defendant pled guilty to the Indictment in court before the

 undersigned judge, and as part of his plea agreement, he agreed to forfeit his interest in the subject

 property. (Doc. No. 57.) In addition, on that same date, Chief Judge Ron Clark signed an Order

 granting the Government’s Motion for Preliminary Forfeiture of Property, including the property at

 issue. (Doc. No. 56.) Just a few weeks later, on December 10, 2015, a General Warranty Deed was

 executed and filed with the Orange County Clerk listing Grover L. Roberts, Jr. as the Grantor and

 Brunetta F. Roberts as the Grantee. (Govt. Ex. 3.) However, the Deed was mistakenly signed by

 Brunetta F. Roberts as the Grantee, instead of the Grantor, rendering it invalid. On December 14,

 2015, Roberts then filed a Petition for Remission of Forfeited Property.1 (Doc. No. 75.)


 1. Roberts filed a Petition for Remission of Forfeited Property. However, a petitioner seeking remission or mitigation
 of a forfeiture does not contest the legitimacy of the forfeiture. United States v. Morgan, 84 F.3d 765, 767 n. 3 (5th
 Cir.1996) (“[u]nlike the claimant who files a claim [seeking judicial relief] and posts a cost bond, a petitioner seeking
 remission or mitigation of a forfeiture does not contest the legitimacy of the forfeiture.”). Rather, a petition for remission
 or mitigation presumes that the forfeiture is valid and is a means of ameliorating the harshness of forfeiture when
 mitigating circumstances exist. Id. It is in essence, a request for leniency, or an executive pardon, based on the
 petitioner’s representations of innocence or lack of knowledge of the underlying unlawful conduct. See United States
 v. Vega, 72 F.3d 507, 514 (7th Cir.1995); cert. denied, 518 U.S. 1007 (1996); see also United States v. Wong, 62 F.3d
 1212, 1214 (9th Cir. 1995). Further, a petition seeking remission or mitigation pursuant to 28 § C.F.R. 9.5 is ruled upon
 not by the Court, but by the Chief of the Asset Forfeiture and Money Laundering Section, Criminal Division, United
 States Department of Justice, without a hearing. See 28 C.F.R. § 9.4(g). Because Roberts, who is proceeding pro se, is
 alleging that she has a legal interest in the property, the undersigned will construe her filing as a petition to the court for
 a hearing to adjudicate the validity of her alleged interest in the property pursuant to 21 U.S.C. § 853(n) and not as a
 remission of forfeited property.




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          B.       Hearing Testimony

          At the hearing, Roberts testified about her interest in the property located at 1412 South Hart

 Avenue in Orange, Texas. She stated that she and the Defendant, Grover Lee Roberts, Jr., her now

 ex-husband, purchased this home together on August 1, 1979, while they were married. The

 Government submitted a General Warranty Deed showing their purchase of the property on October

 1, 1979. (Govt. Ex. 2.) Roberts testified that the mortgage on the home was paid off in 2006, and

 she provided the court with a release of lien, dated April 11, 2006, indicating that the mortgage

 company was paid in full by borrowers, Grover Lee Roberts, Jr. and Brunetta Faye Roberts.

 (Roberts Ex. 1.)

          Roberts also provided the court with documents regarding her divorce from the Defendant.

 This exhibit states that Grover Lee Roberts, Jr. was served with a summons for absolute divorce on

 April 8, 2006, from the Circuit Court for Prince George’s County, Maryland. (Id.) In addition, a

 Notice of Master’s Recommendations mailed to the Defendant on December 13, 2006, states that

 if he does not file written exceptions to the attached Final Order before December 26, 2006, it will

 be submitted for approval. (Id.) The final order states that it is a Judgement of Absolute Divorce

 and grants Roberts an absolute divorce.2 (Id.) It does not appear that there was an explicit division

 of their property in the divorce judgment.

          Roberts lived in Maryland for approximately two years between 2006 and 2008, and she then

 moved to Houston, Texas sometime during 2009. In 2010, she moved back to Orange, Texas to live

 with her mother. She maintains that she had frequent contact with the Defendant, especially after



 2. “An absolute divorce . . . effects a complete severance of the marital bond and entitles either of the parties, or
 both, to remarry.” Ricketts v. Ricketts, 903 A.2d 857, 861 (Md. 2006).

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 his wife passed away. She testified that she had an oral agreement with the Defendant that she would

 always maintain her ownership in the home and if he were not living there, that she could. Roberts

 stated that she has not lived at that property since 2005, and she had no knowledge of any criminal

 activity that took place there.

         Terrie Salter, a friend of the family, also testified on Roberts’ behalf. She stated that Roberts

 occasionally cooked for the Defendant and can vouch for Roberts that she did not know of any

 criminal activity taking place at the property.

         The Government called Agent Jason Laughlin as a witness. He is a sergeant in the Narcotics

 Division with the City of Orange. He investigated narcotics activity at the property at issue starting

 in April, 2015. The Department had a confidential source purchase drugs from the Defendant at the

 property. They did approximately 5 to 6 buy-walks at that location and seized 60 grams of crack

 cocaine. In addition, a search warrant was executed at the property and more than 15 grams of crack

 cocaine were found. Agent Laughlin also testified that this property has prostitutes that come and

 go and perhaps live there, and there are always a lot of people gathered at the home. He stated that

 it is well known to officers that you can get drugs there any time of the day, and there have been

 multiple calls, disturbances, and arrests from the property. He commented that the criminal activity

 involving this property goes back to at least January 6, 2009, when an arrest of the Defendant was

 made, and a search was conducted that resulted in the seizure of crack cocaine. Agent Laughlin

 stated that since the Defendant has vacated the property due to incarceration, the property has been

 very quiet with no criminal activity.




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          C.       Analysis

                   1. Roberts’ Vested Interest

          Roberts does have a legal one-half interest in the property that vested prior to the commission

 of the acts that give rise to the forfeiture. Evidence presented at the hearing showed that the property

 was purchased in 1979 and was paid off in 2006 prior to any evidence of criminal activity taking

 place at that location (the indictment alleges that the conspiracy involving the Defendant began on

 or about 2008). In addition, it appears that Roberts retained her half interest in the property after she

 and the Defendant were divorced by a Maryland state court. See Bargeski v. Rose, No. CIV.A. RWT

 05-0962, 2006 WL 1238742, at *3 (D. Md. Mar. 31, 2006), aff’d, 242 F. App’x 945 (4th Cir. 2007)

 (“Upon the Bargeskis’ divorce, the Coldstream property previously owned as tenants by the entirety3

 was converted by operation of law into a tenancy in common4.”) (citing In re Lowery, 203 B.R. 587,

 588 (Bankr. D. Md. 1996) (“In Maryland, a tenancy by the entirety converts into a tenancy in

 common upon the dissolution of marriage.”)); Keen v. Keen, 60 A.2d 200, 204 (Md. 1948) (“Where

 a decree of absolute divorce is granted, then such property is held by husband and wife as tenants

 in common.”); Meyers v. E. End Loan & Sav. Ass’n of Baltimore City,116 A. 453, 456 (Md. 1922)

 (“As the result of the divorce they each became entitled as tenant in common to an undivided



 3. “A tenancy by the entireties can be created only when the grantees stand in relationship of husband and wife at the
 time of the conveyance to them, and absent such a relationship, an attempt to create such tenancy must fail.” Young
 v. Young, 376 A.2d 1151, 1155 (Md. 1977). Tenancy by the entireties differs from other forms of co-ownership in
 that, unless there is a divorce, neither the husband nor the wife can partition, sell, or convey the property without the
 consent of the other. Spessard v. Spessard, 494 A.2d 701, 706 (Md. 1985).

 4. A tenancy in common is “a type of concurrent estate in which multiple parties have interest in a single property.”
 Fagnani v. Fisher, 15 A.3d 282 (Md. 2011). “A fundamental characteristic of a tenancy in common is the ability of each
 tenant to devise (or not devise) his or her separate interest separately.” Id. Each tenant possesses the authority to sell
 or encumber their own individual interests. Anderson v. Joseph, 26 A.3d 1050, 1056 (Md. 2011).




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 one-half interest in the property, . . .”).

                  2. Bona Fide Purchaser of the Defendant’s Interest

         Although a Quitclaim deed, and an (invalid) Warranty Deed were executed in this case

 giving the Defendant’s share of the property to Roberts, she does not qualify as a bona fide purchaser

 of the Defendant’s half interest, because she did not pay value for the transfer of the property, and

 she was not without cause to believe that the property was subject to forfeiture as required by the

 statute. See United States v. White, 306 F. App’x 838, 840-41 (5th Cir. 2007) (To qualify as a bona

 fide purchaser under federal forfeiture law, the claimant must have given value in exchange for the

 property.); United States v. Real Prop. Located & Situated at 404 W. Milton St., Austin, Travis Cty.,

 Tex., No. A-13-CA-194-SS, 2014 WL 5808347, at *7 (W.D. Tex. Nov. 7, 2014) (“Having taken by

 inheritance, Claimants are manifestly not ‘bona fide purchasers or sellers for value’: they are

 gratuitous transferees.”); United States v. Brewer, 591 F. Supp. 2d 864, 868 (N.D. Tex. 2008) (citing

 United States v. Reckmeyer, 836 F.2d 200, 208 (4th Cir. 1987) (A bona-fide purchase under the

 criminal forfeiture statute is for persons who give value to the defendant in an arms’-length

 transaction.).

         With regard to her knowledge of the forfeiture, the Defendant was arrested, incarcerated, and

 indicted prior to his decision to execute a deed in Roberts’ favor. She stated in her petition, “[w]hen

 the accused was arrested not knowing the possible outcome of the situation, he decided to turn his

 50% of his interest in the property located at 1412 Hart Avenue S., Orange, Texas to me.” (Doc. No.

 101.) Moreover, the Government presented evidence that a Notice of Lis Pendens was filed giving

 notice of the forfeiture just days prior to the execution of the Quitclaim Deed, so Roberts cannot

 claim that she was without knowledge of the forfeiture. See United States v. Real Prop. Located &


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 Situated at 404 W. Milton St., Austin, Travis Cty., Tex., No. A-13-CA-194-SS, 2014 WL 5808347,

 at *8 (W.D. Tex. Nov. 7, 2014) (citing United States v. 392 Lexington Parkway S., St. Paul., Minn.,

 Ramsey Cnty., 386 F. Supp. 2d 1062, 1068 (D. Minn. 2005)) (explaining claimants would not

 qualify as innocent owners if they acquired their ownership interests in the property after a lis

 pendens was filed, as a lis pendens would give them cause to know the property was subject to

 forfeiture)). Consequently, the Defendant’s half interest in the property is subject to forfeiture.

                                    III. RECOMMENDATION

        For the reasons discussed above, the undersigned recommends that Roberts’s petition be

 granted in part and denied in part. It is further recommended that the Court amend the order of

 forfeiture and order the Government to sell the Property in a commercially feasible manner and

 divide the net proceeds equally with Roberts after satisfaction of all taxes owed and the costs of

 possession, maintenance, repair, marketing, and sale of the property.

                                         IV. OBJECTIONS

        Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

 to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

 identify those findings or recommendations to which the party objects, and (3) be served and filed

 within fourteen (14) days after being served with a copy of this report, and (4) no more than eight

 (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule CV-

 72(c). A party who objects to this report is entitled to a de novo determination by the United States

 District Judge of those proposed findings and recommendations to which a specific objection is

 timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

        A party’s failure to file specific, written objections to the proposed findings of fact and


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 conclusions of law contained in this report, within fourteen (14) days of being served with a copy

 of this report, bars that party from: (1) entitlement to de novo review by the United States District

 Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–77

 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings of

 fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

 Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).



        SIGNED this 28th day of March, 2016.




                                                      _________________________
                                                      Zack Hawthorn
                                                      United States Magistrate Judge




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